                    Exhibit 10




Case 1:19-cv-00484-BHL Filed 09/16/22 Page 1 of 6 Document 279-10
Case 1:19-cv-00484-BHL Filed 09/16/22 Page 2 of 6 Document 279-10
Case 1:19-cv-00484-BHL Filed 09/16/22 Page 3 of 6 Document 279-10
Case 1:19-cv-00484-BHL Filed 09/16/22 Page 4 of 6 Document 279-10
Case 1:19-cv-00484-BHL Filed 09/16/22 Page 5 of 6 Document 279-10
Case 1:19-cv-00484-BHL Filed 09/16/22 Page 6 of 6 Document 279-10
